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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF COLORADO

In re:

HIGH COUNTRY CLUB, LLC,
EIN: XX-XXXXXXX

Case No. 09-11070-MER
Chapter 7

Debtor.

ee

 

MOTION FOR APPROVAL OF SETTLEMENT
(American Express Travel Related Services Company)

 

Jeffrey A. Weinman, as Chapter 7 trustee (the “Trustee”) of the bankruptcy estate of High
Country Club LLC, for his Motion to Approve Settlement Agreement (American Express Travel
Related Services Company) (this “Motion”), states:

1. On January 27, 2009 (the “Petition Date”), High Country Club, LLC (the
“Debtor’) filed a voluntary petition for relief under Chapter 7 of title 11, U.S.C. (the
“Bankruptcy Code”), commencing bankruptcy case number 09-11070 MER (the “Bankruptcy
Case”) in the United States Bankruptcy Court for the District of Colorado (this “Court”).

2. The Trustee believes that American Express Travel Related Services Company
(“American Express”) received transfers from the Debtor totaling $93,685.46 (the “Transfers”).
On January 26, 2011, the Trustee commenced adversary proceeding number 11-1066 MER (the
“Adversary Proceeding”) against American Express seeking to avoid and recover the Transfers
under § 547(b) of the Bankruptcy Code. American Express denies any liability for the Transfers
and believes that it has valid defenses to the Trustee’s avoidance claims. |

3, The Trustee and American Express have reached an agreement to settle fully and

finally all of the matters related to the Adversary Proceeding. A true and correct copy of the

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Settlement Agreement between the Trustee and American Express is attached to this Motion as
Exhibit A. Under the settlement, American Express will pay $62,000.00 to compromise the
Adversary Proceeding. Payment will be made following approval of the settlement agreement.
American Express also may file a proof of claim for the settlement amount once paid to the
Trustee.

4, Through this Motion the Trustee requests approval of the compromise and
settlement agreement under Rule 9019 of the Federal Rules of Bankruptcy Procedure.

ARGUMENT AND AUTHORITY

5. “To minimize litigation and expedite the administration of a bankruptcy estate,
‘compromises are favored in bankruptcy.’” Myers v. Martin (In re Martin), 91 F.3d 389, 393 (3d
Cir. 1996) (quoting 9 Collier on Bankruptcy § 9019.03[1] (15th ed. 1993)). In assessing a
request to approve a compromise under Rule 9019(a) of the Federal Rules of Bankruptcy
Procedure, “a court’s general charge is ‘to determine whether the settlement is fair and equitable
and in the best interests of the estate.’” Official Committee of Unsecured Creditors v. Western
Pacific Airlines, Inc. (In re Western Pacific Airlines, Inc.), 219 B.R. 575, 579 (D. Colo. 1998)
(quoting Kaiser Steel Corp. v. Frates (In re Kaiser Steel Corp.), 105 B.R. 971, 976 (D. Colo.
1989)).

6. Although the Court has discretion to approve a settlement under Rule 9019,
Kaiser Steel, 105 BR. at 978, its decision “must be an informed one based upon an objective
evaluation of developed facts.” Reiss v. Hagmann, 881 F.2d 890, 892 (10th Cir. 1989).

7. Courts have focused on four primary factors in considering approval of
bankruptcy settlements: “the probable success of the litigation on the merits, any potential
difficulty in collection of a judgment, the complexity and expense of the litigation and the
interests of creditors in deference to their reasonable views.” Kaiser Steel, 105 B.R. at 977; see

2

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Korngold v. Loyd (In re Southern Medical Arts Companies, Inc.), 343 B.R. 250, 256 (B.A.P.
10th Cir. 2006) (same); Martin, 91 F.3d at 393 (same). In addition to considering those factors,
the Court “must carefully weigh the value of the settled claim against the value to the estate by
the settlement.” Jn re The Hermitage Inn, Inc., 66 B.R. 71, 72 (Bankr. D. Colo. 1986).

8. “TS]ome deference to the business judgment” of the trustee also is appropriate
where a proposed settlement otherwise is fair and equitable to the estate. In re
OptinRealBig.com, LLC, 345 B.R. 277, 291 (Bankr. D. Colo. 2006).

9. In this case, the Trustee believes that the settlement with American Express is in
the best interests of the estate because it avoids the cost, delay, and risk of litigation. American
Express’ payment of $62,000.00 to the estate eliminates further fees and costs for prosecuting the
avoidance claims in the Adversary Proceeding and allows the estate a reasonable recovery. The
terms of the prepetition agreement, the timing of the various payments, and the circumstances
surrounding the Transfers provide American Express with viable defenses. Specifically,
American Express has demonstrated a partial new value defense and a potential to defend under
an ordinary course of business defense. The settlement with American Express is fair,
reasonable and in the best interest of the estate for purposes of approval under Fed. R. Bankr. P.
9019.

WHEREFORE, for all of the foregoing reasons, the Trustee respectfully requests entry of
an order approving the settlement with American Express and for such other relief as deemed

appropriate.

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Dated this 7th day of February, 2012.

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CERTIFICATE OF SERVICE

I hereby certify that on 7th day of February, 2012, the foregoing MOTION FOR
APPROVAL OF SETTLEMENT (American Express Travel Related Services Company),
was served by U.S. Mail, first class postage prepaid, to the following parties below and on the
attached list.

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Label Matrix for local noticing
1082-1

Case 09-11070-MER

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31341 Adres Pico Road
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14095 Seabiscuit
Alpharetta, GA 30004-7570

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Kona Clean Sweep

PMBH 440

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Mill Club Homeowners Assoc., Inc.
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dba Home Concierge Services
Steamboat Springs, CO 80488-1771

Scott Breland
P.0. Box 6240
Dillon, CO 80435-6240

Segal

Apartment 7B

325 East 79th Street
New York City, NY 10021

Sereda
PO Box 4490
Houston, TX 77210-4490

Shaw
18930 33rd Avenue N.
Plymouth, MN 55447-1078
Case:09-11070-MER

Shawn Slywka
3406 Springbranch Drive
Richardson, TX 75082-2437

Sherwood 1600 Associates
Suite 1707

745 Fifth Avenue

New York, NY 10151-1700

Simmons
17237 NE 119th Court
Redmond, WA 98052-1614

Sims & Drucker
2494 Canyon Creek Road
Escondido, CA 92025-7463

Smith, Terry
5051 South Emporia Street
Greenwood Village, CO 80111-3611

SourceGas
P.O. Box 660474
Dallas, TX 75266-0474

Spyrka
12305 Arbor Park Place
Bakersfield, CA 93311-9297

Steve Safigan
15 Mimosa Dr.
Rome, GA 30161-3931

Stonehaven at Breckenridge Golf Club
c/o Paige B. Beville, Treasurer
Stonehaven HOA

6210 E. Flatiron Loop

Apache Junction, AZ 85118-1871

Strahley
5003 Oak Tree Court
Ann Arbor, MI 48108-8573

Shepherd
1601 Warwick Lane
Newport Beach, CA 92660-4831

Sievers/Cecile
1140 Forest Trails Drive
Castle Rock, CO 80108-8279

Simon W. (Trey) Hendershot, III
Kerr & Hendershot, P.C.

1800 Bering Drive

Suite 600

Houston, TX 77057-3352

Smith, David
1321 Briar Grove
Keller, TX 76248-0274

Soberman
31211 Avenida Terramar
San Juan Capistrano, CA 92675-6317

Southern California Edison Company
P.O, Box 600
Rosemead, CA 91771-0001

Stavros
9060 Woodridge Drive
Davison, MI 48423-8373

Stock, Chris

Unit E

3026 West Prentice Avenue
Littleton, CO 80123-7785

Stork
4451 91st Avenue, NE
Yarrow Point, WA 98004-1221

Strainer/Whatmough

c/o Michael T. Strainer
23054 NE 130th St.,
Redmond, WA 98053-5650

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Sherpa Report, LLC
117 Prospect Street
Newton, MA 02465-2312

Simba Computing Solutions
6672 Kari Ct.
Colorado Springs, CO 80915-4389

Simon/Betker
942 Gilia Drive
Golden, CO 80401-9229

Smith, Ingrid
17900 S. Crestline Drive
Lake Oswego, OR 97034-6217

Sorenson

#2105

100 Third Avenue South
Minneapolis, MN 55401-2717

Specialized Loan Servicing, LLC
P.O. Box 105219
Atlanta, GA 30348-5219

Stettler
6028 Scotmist Drive
Rancho Palos Verdes, CA 90275-3349

Stonehaven at Breckenridge
P.O; Box 5583

Golf Club Association, Inc.
Breckenridge, CO 80424-5583

Stoweflake Mountain Resort & Spa
P.O. Box 369
Stowe, VI 05672-0369

Strauser
175 Berwick Road
Lake Oswego, OR 97034-2847
Case:09-11070-MER

Stringer

Suite 400

5429 LBU Freeway
Dallas, TX 75240-2611

Susan and Sean Truman
767 Linwood Ave.
St. Paul, MN 55105-3323

Tahoe Mountain Resorts Lodging, LLC
P.O, Box 838
Truckee, CA 96160-0838

Terracehouse Condominium Association
P.O. Box 5409
Snowmass Village, CO 81615-5409

The Lofts West
P.O. Box 611632
Rosemary Beach, FL 32461-1005

The Rotenberg Companies, Inc.

c/o Fabyanske Westra Hart & Thomson, PA
Attn: Jeff Jones

800 LaSalle Ave., Suite 1900
Minneapolis, MN 55402-2037

The Village - Community Assoc.
P.O. Box 25396

First Bank Assoc. Services
Santa Ana, CA 92799-5396

Thomas
4872 4th Street
Boulder, CO 80304-0597

Thomson
3507 Inverness Drive
Chevy Chase, MD 20815-5620

Time Warner Cable
P.O. Box 70992
Charlotte, NC 28272-0992

Suedcamp
41 Inverness Drive Hast
Englewood, COQ 80112-5412

Suzi Howard

Assistant Controller

PO Box 5008

300 Carriage Way

Snowmass Village, CO 81615-5008

Taylor
3000 Seneca Chief Trail
Ellicott City, MD 21042-1418

The Club at La Costa
2100 Costa Del Mar Road
Carlsbad, CA 92009-6823

The Palms at Wailea AOAO
3200 Wailea Alanui Dr. #A
Wailea, HI 96753-7740

The Settlers Creek Condominium Association,
c/o Bradford E. Dempsey

3200 Wells Fargo Center

1700 Lincoln St.

Denver, CO 80203-4500

The Village - Phase I

P.O. Box 25396

First Bank Association Service
Santa Ana, CA 92799-5396

Thomas, Darren
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Time Warner Cable
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Pittsburgh, PA 15250-7808

Time Warner Cable of NYC
P.O. Box 9227
Uniondale, NY 11555-9227

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Summit Pool & Spa
P.O. Box 3115
Breckenridge, CO 80424-3115

Swisher
1210 Bruton Springs Road
Austin, TX 78733-1827

Tenzer
4081 St, Petersburg Street
Boulder, CO 80301-6027

The Gas Company
P.O. Box C
Monterey Park, CA 91756-0001

The Phoenix Club, LLC
c/o Thomas F. Quinn, Esq
1600 Broadway, Suite 2350
Denver, CO 80202-4921

The Sound Room

P.O. Box 5324

409 Main Street, Suite 107
Frisco, CO 80443-5324

The Village at Copper Association, Inc.
c/o Winzenburg, Leff, Purvis & Payne, LL
1660 Lincoln Street, Suite 1550

Denver, CO 80264-1502

Thoms
818 Breakwater Drive
Fort Collins, CO 80525-4886

Time Warner Cable
P.O. Box 60506
City of Industry, CA 91716-0506

Tirone (2)

Suite 400

10780 Santa Monica Boulevard
Los Angeles, CA 90025-7616
Case:09-11070-MER

Toderica
71705 Crestview Drive
Longmont, CO 80504-7300

Town of Stowe Electric Department
P.O. Box 190
Stowe, VI 05672-0190

Trapper Mechanical
P.O. Box 3291
Eagle, CO 81631-3291

Tychsen
5007 Bluestem Court
Fort Collins, CO 80525-3751

Ungvary
734 Rugby Road
Bryn Mawr, PA 19010-3833

Vacation Home Services
P.O. Box 6741
Breckenridge, CO 80424-6741

ValleyCrest Landscape Maintenance
Ashley Wilson , Esq.

24151 Ventura Blvd.

Calabasas, CA 91302-1449

Vellone
6793 §. Yates Court
Littleton, CO 80128-6457

Verizon Wireless
P.O. Box 25505
Lehigh Valley, PA 18002-5505

Villa Petrischio-Merlino
Via Del Petrischio, 25
Farneta (AR), Italy,

Toran
405 Westminster Drive
Morganville, NU 07751-4628

Town of Telluride
P.O, Box 1704
Telluride, CO 81435-1704

Turchet
5128 Wascana Vista Place
Regina, SK S4V 283

U.S. Appraisal
200 South Wacker Drive
Chicago, IL 60606-5829

United Products, Inc.

Unit# 3

379 Oyster Point Blvd.

South San Francisco, CA 94080-1961

Vail/Beaver Creek Resort
Dept. 177
Denver, CO 80291-0177

ValleyCrest Landscape Maintenance
P.O. Box 404083
Atlanta, GA 30384-4083

Patrick D. Vellone
1600 Stout St.

Suite 1100

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Vicki & David Reavis
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Greenwood Village, CO 80111-2303

Village Property Management, Inc.
P.O. Box 5550
Snowmass Village, CO 81615-5550

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Town of Breckenridge
150 Ski Hill Road
Breckenridge, CO 80424

Tran
20130 Zimmerman Place
Saugus, CA 91390-3102

Turner Morris, Inc.
5054 Marshall Street
Arvada, CO 80002-4627

US Trustee

999 18th St.

Ste. 1551

Denver, CO 80202-2415

Utilities, Inc.

P.O. Box 240908

Carolina Water Service of NC
Charlotte, NC 28224-0908

Valenzuela
286 Ft Washington Ave
New York, NY 10032-1315

Vela
3504 Gardenia Drive
Arlington, TX 76016-3927

Vendor

Mail to Address Line 2

Mail to Address Line 1

Mail to City, Mail to 2i

Villa Petrischio-Artu
Via Del Petrischio, 25
Farneta (AR), Italy,

Washburn
235 Leicester Road
Kenilworth, IL 60043-1244
Case:09-11070-MER

Washington Mutual
P.O. Box 78148
Phoenix, AZ 85062-8148

Weber
13320 Swallowtail Drive
Bradenton, FL 34202-8241

Wells Fargo Bank, N.A.
MAC $4101-08C

100 W. Washington St,
Phoenix, AZ 85003-1814

Wells Fargo Home Mortgage
P.O. Box 660455
Dallas, TX 75266-0455

Westfall
3069 §. Kittredge Park Rd
Evergreen, CO 80439-9221

Whatmough, William and Helen
12451 North Cloud Crest Trail
Scottsdale, AZ 85268-6171

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418 Shadow Creek Lane
Manakin Sabot, VA 23103-2537

Winfield
436 Ogden Street
Denver, CO 80218-3814

XCEL Energy
P.O. Box 9477
Minneapolis, MN 55484-9477

Yampa Valley Blectric Assn., Inc,

. PLO. Box 775267

Steamboat Springs, CO 80477-5267

Waste Management

P.O. Box 9001797

Southern Waste Services
Louisville, KY 40290-1797

Jeffrey A. Weinman
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Wells Fargo Bank, N.A.
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Wells Fargo Merchant Serv.
Fox Rothschild LLP

2000 Market St.

10th Fl.

Philadelphia, PA 19103-3291

Deanna* L. Westfall
999 18th Street

Ste, 2201

Denver, CO 80202-2402

Whittemore
4320 Colony Hills Drive
Akron, OH 44333-1706

Wilson C
4890 Oak Vista Drive
Carmichael, CA 95608-6259

Winter Park Water & Sanitation District
P.O. Box 7
Winter Park, CO 80482-0007

XO Communication Services, Inc.
14239 Collections Center Drive
Chicago, IL 60693-0142

Yee
73 Diamond Street
San Francisco, CA 94114-1933

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Way
11325 Holidan Way
Houston, TX 77024-5306

Weinstock & Scavo, PC
c/o Thomas Bartolozzi
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Atlanta, GA 30305-1728

Wells Fargo Business Direct
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Denver, CO 80206-5524

Deanna* L. Westfall

Castle Meinhold & Stawiarski. LLC
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Suite 2201

Denver, CO 80202-2402

Williams
131 Hopewell Wertsville Road
Hopewell, Nu 08525-1107

Wilson, Jack
2025 Summerland Ave
Winter Park, FL 32789-1453

Wu
852 Pastureview Drive
Baton Rouge, LA 70810-4848

XO Communications, Inc.

c/o Attn: Brad Lee

105 Molloy St., Ste 300

Nashville, TN 37201-2315

Zerwekh, James D, and Shanon £.
4580 Foxtail Circle
Greenwood Village, CO 80121-3942
Case:09-11070-MER Doc#:232 Filed:02/07/12 Entered:02/07/12 14:45:49 Page27 of 28

Ziegler
P.O. Box 20129/38100 Blue Tank Trail
Wickenbury, AZ 85358-5129

c/o Roger F. Friedman

Rutan & Tucker, LLP

611 Anton Blvd., 14th Floor
Costa Mesa, CA 92626-7681

Zien

#408

928 Wright Ave

Mountain View, CA 94043-4658

200g
76 Grandview Circle
Brandon, MS 39047-7398

The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P, 2002 (g) (4).

Atmos Energy
P.O. Box 79073
Phoenix, AZ 85062-9073

Internal Revenue Service
Centralized Insolvency Operations
PO Box 21126

Philadelphia, PA 19114

_Dell Financial Services

P.O. Box 5292
Carol Stream, IL 60197-5292

(d) Internal Revenue Service
Insolvency Unit

MS 5012 DEN, 1999 Broadway
Denver, CO 80202-3025

Dominion North Carolina Power
P.O. Box 26543
Richmond, VA 23290-0001

Rocky Mountain Power
1033 NE 6th Avenue
Portland, OR 97256-0001

The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.

(d)Allegiant Management, LLC
P.O, Box 66
Winter Park, CO 80482-0066

(u)Aurora Loan Services, LLC

(u)Bank of America as Servicer for Deutsche B

(u)Dickensheet & Associates, Inc.

(ujAllen & Vellone

(u) BKD

(u)Jan Beresford

(u) Digital Rez
Suite #5, Warrens Court, Warrens
Bridgetown, BDS

(u) Astrofé
3265 Carriage Hill Place
Ottawa, KIT 3X6

(u}Banco Mercantil del Norte, §.A.
Esq Sn Martin, Col Americana
Avenida Vallarta numero 1617
Guadalajara, Jalisco

(u) Casperd
#3-389 Collett Road
Kelowna, VIW 343

(u)Feder Law Firm
Case:09-11070-MER Doc#:232 Filed:02/07/12 Entered:02/07/12 14:45:49 Page28 of 28

(u)FirstCaribbean International Bank
Leeward Highway Branch

P.O. Box 698, Leeward Highway
Providenciales, Turks & Caicos

(u)HSBC Bank USA, National Association as Tru

(u)Lakota Owners Association, Inc,

(d)Neighborhood Home Buyers, LLC
P.O. Box 609
Point Clear, AL 36564-0609

(u)Red Hawk Townhome Condominiums

(u) Sheldon Good & Company

(u) The Keystone Neighbourhood Company, Inc.

(u) The village at copper association

(u)Villa Renaisance

Grace Bay

P.0. Box 592, Ventura Drive
Providenciales,

(u) FirstCaribbean International Bank
Leeward Highway Branch

PO Box 698, Leeward Highway
Providenciales, Turks & Caicos Islands

{u)Humberto Munoz Flores de la Torre
Cancun, Q. Roo

(d)Maria R. Massaro
1313 Carlyle Park Cir.
Highlands Ranch, CO 80129-6974

(u) Paramount Destinations

(u)Michael E, Romero

(u) Terracehouse Condominium Association, Inc.

(u)The Phoenix Club, LLC

(u)US Bank, NA As Trustee

(u) Widyasurya
63 Prince Street Mosman
Sydney, 02088

(u)Gaitan
Rosas 330 Col. Torreon Jardin
Torreon, 27200

(u) Christian Vance Kirchner

(u) Name

Line 2
Address

City, Zip

(d}Paramount Destinations, Inc.
520 A Old Stoney Road
Corolla, NC 27927-2215

(d) Schoenholz
75 Leeshore Lane
Tiverton, RI 02878-4269

(u)The Callahan Group, LLC

(u}The Townhomes at Settlers Creek Condominiu

{u) Villa La Estancia
Paseo Cocoteros #700 Sur
Nuevo Vallarta, Nayarit

End of Label Matrix

Mailable recipients 633
Bypassed recipients 38
Total 671
